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CIVIL MINUTES/CALENDAR
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

UNITED STATES MAGISTRATE JUDGE EDWIN G. TORRES
EAST COURTROOM

Thursday, January 10, 2008 2:30 p.m. - 3:30 p.m.
Clerk: Maedon Clark Tape No. 08E-2-1652/3-1
07-21031-CIV-LENARD/TORRES
AMERICAN APPRAISAL ASSOCIATES, INC.
Matthew Scott Nelles, Esquire
Donald A. Daugherty, Jr., Esquire

vs

AMERICAN APPRAISALS, INC., et al
Gustavo Sardina, Esquire

REASON FOR HEARING Plaintiff's Motion to Enforce
Written Settlement Agreement (D.E. 38);
Defendant’s Motion for Sanctions (D.E. 53)

RESULT OF HEARING Argument heard.
The Court GRANTS the Motion for Conference,
GRANTS the Motion to Enforcement Settlement
Agreement and ORDERS that the stipulated dismissal be
filed.
The Court DENIES Motion for Sanctions as MOOT.

Written Order to follow.
